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 8                         UNITED STATES DISTRICT COURT
 9                      SOUTHERN DISTRICT OF CALIFORNIA
10

11   TERESA ELMORE                              Case No. 3:22-cv-00046-AJB-KSC
12                Plaintiff,
13         v.                                   ORDER GRANTING JOINT
                                                MOTION FOR DISMISSAL
14 THE LINCOLN NATIONAL LIFE
15
   INSURANCE COMPANY

16          Defendant.
17

18         The Court, having considered the parties’ Stipulation for Dismissal with
19   Prejudice, hereby dismisses the case with prejudice, with each party to bear their own

20   attorneys’ fees, expenses and costs.

21         IT IS SO ORDERED.

22   Dated: July 5, 2022

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                                               1                Case No. 3:22-cv-00046-AJB-KSC
                                       [PROPOSED] ORDER
                                                                          52114510.v1-OGLETREE
